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A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations                                                     FILED
                                                                                                                        U.S. DISTRICT COURT
             Sheet 1                                                                                                EASTERN DISTRICT ARKANSAS



                                      UNITED STATES DISTRICT COURT
                                                                                                           JAMES               K. CLERK
                                                          Eastern District of Arkansas                     By: _ _,____....__ _ _ __
                                                                                                                                       DEP CLERK
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                             v.                                         (For Revocation of Probation or Supervised Release)
                    NOE GAYTON

                                                                        Case No. 4:09CR00296-04 BSM
                                                                        USM No. 25611-009
                                                                         Kim Driggers
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard, Special       of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                  Violation Ended
1 General                         Failure to refrain from unlawfully possessing a controlled
                                  substance
2 Standard (7)                    Failure to refrain from use of a controlled substance                      06/09/2015
3 Standard (2)                    Failure to report to the probation officer as directed
       The defendant is sentenced as provided in pages 2 through _ _3_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4439                      08/20/2015

Defendant's Year of Birth:           1970

City and State of Defendant's Residence:                                                          Signature of Judge
Batesville, Arkansas
                                                                         BRIAN S. MILLER ,                  U. S.      DISTRICT JUDGE
                                                                                                Name and Title of Judge

                                                                             ~--z ~-<.S
                                                                                                         Date
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AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet lA
                                                                                                             2_
                                                                                             Judgment-Page _ _     of      3
DEFENDANT: NOE GAYTON
CASE NUMBER: 4:09CR00296-04 BSM

                                                      ADDITIONAL VIOLATIONS

                                                                                                                   Violation
Violation Number               Nature of Violation                                                                Concluded
4 Special (1)                   Failure to participate in a substance abuse treatment program                     07/07/2015

5 Special (2)                  Failure to participate in a mental health treatment program                        03/25/2015
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  AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                                  Judgment -    Page -~3- of      3
  DEFENDANT: NOE GAYTON
  CASE NUMBER: 4:09CR00296-04 BSM

                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
SIX (6) MONTHS WITH NO SUPERVISED RELEASE TO FOLLOW.




     ti The court makes the following recommendations to the Bureau of Prisons:
Gayton shall participate in nonresidential substance abuse treatment during incarceration. Gayton shall serve his term of
imprisonment at FCI Forrest City, Arkansas.


     D The defendant is remanded to the custody of the United States Marshal.

     ti The defendant shall surrender to the United States Marshal for this district:
         ri{ at      02:00                         D    a.m.      ri/ p.m.    on   _0_9_11_8_12_0_1_5_ _ _ _ _ __

         D    as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

  I have executed this judgment as follows:




         Defendant delivered on                                                        to

  at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                             By
                                                                                            DEPUTY UNITED STATES MARSHAL
